                     Case 20-32437 Document 172 Filed in TXSB on 01/14/21 Page 1 of 10
Fill in this information to identify the case:

            Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
Debtor Name __________________________________________________________________


                                        SouthernDistrict
United States Bankruptcy Court for the: _______ Districtofof Texas
                                                          ________

                                                                                                                    Check if this is an
Case number: 20-32437
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                November 2020
                     ___________                                                              Date report filed:      12/10/2020
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   Oil & Gas
Line of business: ________________________                                                    NAISC code:             2111
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                         Jordan Fickessen
                                           ____________________________________________

Original signature of responsible party    /s/ Jordan Fickessen
                                           ____________________________________________

Printed name of responsible party          Jordan Fickessen
                                           ____________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                       ✔
                                                                                                                                          
    3.   Have you paid all of your bills on time?                                                                                 ✔
                                                                                                                                           
    4.   Did you pay your employees on time?                                                                                              ✔
                                                                                                                                            
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   ✔
                                                                                                                                          
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                               ✔
                                                                                                                                            
    7.   Have you timely filed all other required government filings?                                                                     ✔
                                                                                                                                            
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                              ✔
                                                                                                                                          
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           ✔
                                                                                                                                           
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     ✔
                                                                                                                                           
    13. Did any insurance company cancel your policy?                                                                             ✔
                                                                                                                                           
    14. Did you have any unusual or significant unanticipated expenses?                                                           ✔
                                                                                                                                           
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                ✔
                                                                                                                                          
    16. Has anyone made an investment in your business?                                                                           ✔
                                                                                                                                           
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Debtor Name Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
            _______________________________________________________                                    20-32437
                                                                                           Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                 ✔
                                                                                                                                             
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                   
                                                                                                                                       ✔      


             2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                      4,235.75
                                                                                                                                  $ __________
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.                                                                 5,074.61
                                                                                                          $ __________

    21. Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.
                                                                                                         - $ __________
                                                                                                                7,875.20
         Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                              +       -2,800.59
                                                                                                                                  $ __________
         Subtract line 21 from line 20 and report the result here.
         This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
                                                                                                                                      1,435.16
         Report this figure as the cash on hand at the beginning of the month on your next operating report.                  =   $ __________

         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in transit.



             3. Unpaid Bills
         Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
         have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
         purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                              1,038,301.4
                                                                                                                                  $ ____________

                (Exhibit E)




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Debtor Name Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
            _______________________________________________________                                        20-32437
                                                                                               Case number_____________________________________




             4. Money Owed to You
         Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
         have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
         Identify who owes you money, how much is owed, and when payment is due. Report the total from
         Exhibit F here.
    25. Total receivables                                                                                                                      0.00
                                                                                                                                     $ ____________

                (Exhibit F)



             5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                                 0
                                                                                                                                       ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                                 0
                                                                                                                                       ____________




             6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                               0.00
                                                                                                                                     $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                                  0.00
                                                                                                                                     $ ____________

    30. How much have you paid this month in other professional fees?                                                                          0.00
                                                                                                                                     $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                         0.00
                                                                                                                                     $ ____________




             7. Projections

         Compare your actual cash receipts and disbursements to what you projected in the previous month.
         Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                            Column A                         Column B                    Column C
                                            Projected                  –     Actual                  =   Difference

                                            Copy lines 35-37 from            Copy lines 20-22 of         Subtract Column B
                                            the previous month’s             this report.                from Column A.
                                            report.
                                                     0.00
                                            $ ____________             –          5,074.61
                                                                             $ ____________
                                                                                                     =       -5,074.61
                                                                                                         $ ____________
    32. Cash receipts
                                                6,579.42                          7,875.20           =        1,295.78
    33. Cash disbursements                  $ ____________             –     $ ____________              $ ____________

                                                -6,579.42              –          2,800.59           =       -3,778.83
    34. Net cash flow                       $ ____________                   $ ____________              $ ____________


    35. Total projected cash receipts for the next month:                                                                                      0.00
                                                                                                                                      $ ____________

    36. Total projected cash disbursements for the next month:                                                                      - $ ____________
                                                                                                                                           6,579.42

    37. Total projected net cash flow for the next month:
                                                                                                                                    = $ ____________
                                                                                                                                           -6,579.42




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Debtor Name Permico Midstream Partners Holdings, LLC and Permico Midstream Partners, LLC
            _______________________________________________________                                    20-32437
                                                                                           Case number_____________________________________




             8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    ✔
        38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
        39. Bank reconciliation reports for each account.

    ✔
        40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


        41. Budget, projection, or forecast reports.


        42. Project, job costing, or work-in-progress reports.




Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                           page 4
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                         -HIIUH\%HLFNHU            2IILFH([SHQVH3UR6KUHG                           
                        -HIIUH\%HLFNHU            2IILFH([SHQVH3UR6KUHG                          
                        -HIIUH\%HLFNHU            (PSOR\HH                                      
                        &KDUOHV&UDLJ-DQLHV       (PSOR\HH                                      
                        5RQDOG&KDPQHVV            (PSOR\HH                                      
                        0LFKDHO6DPEDVLOH          (PSOR\HH                                      
                        -RUGDQ)LFNHVVHQ           (PSOR\HH                                      
                        &RQWUDFW/DQG6WDII        52:2IILFH0DLQWHQDQFH                              
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    -HIIUH\%HLFNHU        2IILFH([SHQVH4XLFNERRNV                
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12/9/2020                    Case 20-32437 Document 172 Filed in TXSB on 01/14/21 Page 8 of 10
                                                                                     Permico Midstream Partners, LLC

                                                                                    BK Checking, Period Ending 11/30/2020

                                                                                         RECONCILIATION REPORT

                                                                                          Reconciled on: 12/09/2020

                                                                                        Reconciled by: Jordan Fickessen

 Any changes made to transactions after this date aren't included in this report.

 Summary                                                                                                                                                  USD

 Statement beginning balance                                                                                                                           4,235.75
 Checks and payments cleared (6)                                                                                                                      -7,875.20
 Deposits and other credits cleared (4)                                                                                                                5,074.61
 Statement ending balance                                                                                                                              1,435.16

 Uncleared transactions as of 11/30/2020                                                                                                                -15.00
 Register balance as of 11/30/2020                                                                                                                    1,420.16
 Cleared transactions after 11/30/2020                                                                                                                    0.00
 Uncleared transactions after 11/30/2020                                                                                                              2,044.61
 Register balance as of 12/09/2020                                                                                                                    3,464.77



 Details

 Checks and payments cleared (6)

  DATE                                     TYPE                                     REF NO.                               PAYEE                  AMOUNT (USD)
 11/02/2020                                Expense                                                                        Merlyn Holdings, LLC        -5,679.42
 11/02/2020                                Expense                                                                                                       -30.00
 11/09/2020                                Expense                                                                                                    -2,044.61
 11/24/2020                                Expense                                                                                                       -25.32
 11/24/2020                                Expense                                                                                                      -52.87
 11/24/2020                                Expense                                                                                                      -42.98

 Total                                                                                                                                              -7,875.20


 Deposits and other credits cleared (4)

  DATE                                     TYPE                                     REF NO.                               PAYEE                  AMOUNT (USD)
 11/02/2020                                Deposit                                                                        Jeffrey Beicker             3,000.00
 11/02/2020                                Deposit                                                                                                    1,354.48
 11/02/2020                                Deposit                                                                                                       30.00
 11/02/2020                                Deposit                                                                                                      690.13

 Total                                                                                                                                               5,074.61


 Additional Information

 Uncleared checks and payments as of 11/30/2020

  DATE                                     TYPE                                     REF NO.                               PAYEE                  AMOUNT (USD)
 11/02/2020                                Expense                                                                        Wells Fargo                   -15.00

 Total                                                                                                                                                 -15.00


 Uncleared deposits and other credits after 11/30/2020

  DATE                                     TYPE                                     REF NO.                               PAYEE                  AMOUNT (USD)
 12/08/2020                                Deposit                                                                                                    1,354.48
 12/08/2020                                Deposit                                                                                                      690.13

 Total                                                                                                                                               2,044.61




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                                                                                             TOTAL
Income
Total Income
GROSS PROFIT                                                                                 $0.00
Expenses
 Bank Charges & Fees                                                                          0.00
Total Expenses                                                                               $0.00
NET OPERATING INCOME                                                                         $0.00
NET INCOME                                                                                   $0.00




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                                                                                                             TOTAL
ASSETS
 Current Assets
 Bank Accounts
  Bank of America Operating                                                                                     0.00
  BK Checking                                                                                               1,420.16
  Checking                                                                                                      0.00
  Escrow Account                                                                                                0.00
  Savings                                                                                                       0.00
 Total Bank Accounts                                                                                       $1,420.16
 Other Current Assets
  Prepaid Expenses                                                                                           -967.56
 Total Other Current Assets                                                                                $ -967.56
 Total Current Assets                                                                                       $452.60
 Fixed Assets
 Land                                                                                                   2,558,165.71
 Total Fixed Assets                                                                                    $2,558,165.71
 Other Assets
 Development Costs - Fractionator                                                                       2,369,782.30
 Development Costs - LPG Terminal                                                                       1,515,912.00
 Development Costs - Overhead                                                                          22,027,586.39
 Development Costs - PL Companero                                                                       9,033,399.98
 Development Costs - PL Simpatico                                                                       5,200,460.85
 Development Costs - Storage                                                                               36,890.88
 Right of Use Asset                                                                                    15,052,500.00
 Total Other Assets                                                                                   $55,236,532.40
TOTAL ASSETS                                                                                          $57,795,150.71

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   Accounts Payable (A/P)                                                                              10,489,331.11
  Total Accounts Payable                                                                              $10,489,331.11
  Other Current Liabilities
   Notes Payable - ST                                                                                  30,000,000.00
  Total Other Current Liabilities                                                                     $30,000,000.00
 Total Current Liabilities                                                                            $40,489,331.11
 Total Liabilities                                                                                    $40,489,331.11
 Equity
 Management Distribution                                                                                 359,979.94
 Opening Balance Equity                                                                                10,756,178.88
 Retained Earnings                                                                                         77,954.01
 Series A Membership Interests                                                                          6,088,160.00
 Net Income                                                                                                23,546.77
 Total Equity                                                                                         $17,305,819.60
TOTAL LIABILITIES AND EQUITY                                                                          $57,795,150.71




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